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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


 Civil Action No. 10–CV–01546–REB–CBS



 The Direct Marketing Association,

               Plaintiff,
               v.

 Roxy Huber, in her capacity as Executive
   Director, Colorado Department of Revenue,

               Defendant.

 ______________________________________________________________________

            EXPERT REPORT OF PROFESSOR KEVIN LANE KELLER
 ______________________________________________________________________

        I am Kevin Lane Keller, the E.B. Osborn Professor of Marketing at the Tuck

 School of Business at Dartmouth College. I have been retained by the law firm of Brann

 & Isaacson, counsel to the Direct Marketing Association (“DMA”), to present my

 opinions regarding the effect that a new Colorado law (House Bill 10-1193, “An Act

 Concerning The Collection Of Sales And Use Taxes On Sales Made By Out-Of-State

 Retailers, And Making An Appropriation Therefor” (“the Act”)), will have on the business

 of affected Internet and catalog retailers, and on their relationships with Colorado

 customers. My opinions in that regard are based upon my experience and expertise in

 the field of marketing, as well as on my review of the results of a survey of Colorado

 consumers conducted in June 2010 by Resource Systems Group, Inc. (“RSG”),
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 concerning consumers’ reactions to the requirements of the Act and of related

 regulations adopted by the Colorado Department of Revenue (“Department”).

 I.     STATEMENT OF OPINIONS.

        Based upon my review and consideration of information described in Section II,

 and applying to such information certain concepts, guidelines, and principles derived

 from academic marketing research with respect to consumer behavior, I have formed

 the conclusions and opinions set forth in paragraphs 1 and 5–13 of my sworn

 declaration dated August 10, 2010, which is attached to and expressly incorporated in

 this report.

 II.    DATA AND INFORMATION CONSIDERED IN FORMING OPINIONS.

        The data or other information I considered in forming my opinions includes:

        A.      A copy of the Act;

        B.      A copy of Regulation 39-21-112.3.5, which I understand was adopted by

                the Colorado Department of Revenue; and

        C.      The results of the survey of Colorado consumers conducted by RSG in

                June 2010, as set forth in Final Results dated August 9, 2010, a copy of

                which is attached to this report.

 III.   EXHIBITS.

        The Exhibits that may be used to summarize or support my opinions include the

 documents described in Section II.




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 IV.   QUALIFICATIONS AND PUBLICATIONS.

       Attached to my August 10, 2010 declaration is a copy of my current curriculum

 vitae, including a list of publications I have authored in the previous ten years.

 V.    RECENT TESTIMONY.

       I have testified as an expert during the past four years in the following litigation:


 Deposition                   Agrigenetics, Inc., d/b/a Mycogen Seeds v. Pioneer Hi-
 August 2010                  Bred International, Inc., United States District Court for the
                              Southern District of Indiana (Indianapolis Division)



 VI.   STATEMENT OF COMPENSATION.

       My compensation on this matter is at my standard billing rate for such work of

 $1,000 per hour.



 Dated: September 20, 2010                        s/ Kevin Lane Keller________
                                                  Kevin Lane Keller




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


 Civil Action No. 10–CV–01546–REB–CBS



 The Direct Marketing Association,

              Plaintiff,
              v.

 Roxy Huber, in her capacity as Executive
   Director, Colorado Department of Revenue,

              Defendant.


 ______________________________________________________________________

             DECLARATION OF PROFESSOR KEVIN LANE KELLER
 ______________________________________________________________________

        I, Kevin Lane Keller, pursuant to 28 U.S.C. § 1746, do depose and state as

 follows:

    1. I am the E.B. Osborn Professor of Marketing at the Tuck School of Business at

 Dartmouth College. I have been retained by the law firm of Brann & Isaacson, as

 counsel to the Direct Marketing Association (“DMA”), to present my opinions regarding

 the effect that a new Colorado law (House Bill 10-1193, “An Act Concerning The

 Collection Of Sales And Use Taxes On Sales Made By Out-Of-State Retailers, And

 Making An Appropriation Therefor” (“the Act”)), will have on the business of affected

 Internet and catalog retailers, and on their relationships with Colorado customers. My

 opinions in that regard are based upon my experience and expertise in the field of

 marketing, as well as on my review of the result of a survey of Colorado consumers

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 conducted in June 2010 by Resource Systems Group, Inc. (“RSG”), concerning

 consumers’ reactions to the requirements of the Act and of related regulations adopted

 by the Colorado Department of Revenue (“Department”). I conclude, as described

 more fully in this declaration, that out-of-state retailers affected by the law will likely

 suffer lost sales and permanent injury to their relationships with customers as a result of

 complying with the requirement that they disclose their customers’ purchasing

 information to the Department.

    2. Much of my work, both as an academic and as a consultant to businesses,

 focuses on the relationship between retailers (or brands) and consumers, including the

 importance to a retailer (or brand) of establishing and maintaining the trust of its

 customers. My work also frequently involves the use and/or analysis of consumer

 surveys. During my MBA and PhD studies, I took graduate level courses in marketing

 research that included survey design and interpretation. Since receiving my PhD, I

 have run countless academic research studies that involved the design, conduct and

 analysis of surveys. Many of my activities with consulting clients have also involved

 survey work, including projects with Procter & Gamble, Ford, Samsung, and other

 companies. A copy of my current curriculum vitae is attached hereto as Exhibit A.

    3. It is my understanding that the new Colorado law requires out-of-state retailers

 who do not collect Colorado sales tax to: (a) give Colorado purchasers notice with each

 transaction that the retailer does not collect Colorado sales tax, but that the purchaser

 has an obligation to self-report use tax to the Department, even on catalog and Internet

 sales; (b) send each Colorado purchaser (at least those who purchase $500 in taxable


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 goods or services from the retailer) an annual notice informing them, among other

 things, of their total purchase amount for the past year and that the retailer is required to

 report their name and total amount of purchases to the Department; and (c) file an

 annual report with the Department listing for each Colorado purchaser (regardless of

 purchase amount) the purchaser’s name, billing address, shipping address and total

 amount of purchases.

    4. I am aware that RSG conducted a survey of Colorado consumers in June 2010

 to determine their reactions to the requirements of the new Colorado law. Indeed, I

 reviewed a draft of the survey questionnaire when it was being prepared, and I have

 reviewed a document prepared by RSG entitled “Colorado Consumer Survey, Final

 Results,” dated August 9, 2010 (“Final Results”), setting forth the results of the full

 survey. A copy of the Final Results is attached to the Declaration of Thomas J. Adler,

 PhD, as Exhibit B. I have also reviewed the declaration of Dr. Adler concerning the

 survey.

    5. The objectives of the RSG survey were: (1) to determine whether Colorado

 consumers consider the requirement that out-of-state retailers must report their

 purchasing information to the Department to be an invasion of their privacy or, instead,

 if Colorado consumers do not mind the disclosure of such information to the

 Department; and (2) to determine whether the reporting requirement will affect, in any

 way, Colorado consumers’ future purchases from out-of-state retailers who are required

 to provide such information to the Department. Based on my understanding of the

 requirements of the new law and the objectives of the survey, I believe that the survey


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 was well-designed and executed. I am confident in relying upon the results of the

 survey in support of my opinions expressed in this declaration.

             Retailers Who Must Disclose Customer Purchasing Information
                    to the Department Will Lose Sales as a Result

    6. Based upon my experience in the field of consumer marketing, and the results of

 the RSG Survey, it is my opinion that many consumers will view negatively the

 obligation of affected out-of-state retailers to disclose the customers’ names, addresses

 and amount of purchases to a government agency. Indeed, many consumers who

 become aware of the requirement, including past or current customers of the retailer,

 will be less likely to make a purchase from such a retailer than they would be if the

 retailer was not required to report their information to the government. This will be just

 as true for consumers residing in Colorado as in any other state.

    7. As a result, retailers required to make such disclosures to the Department will

 lose a substantial portion of their Colorado sales. The amount of such lost sales for any

 particular retailer will depend upon a number of factors, but for a law that applies

 broadly to all Internet and catalog retailers with Colorado gross sales in excess of

 $100,000 that do not collect Colorado sales tax, the aggregate volume of such lost

 sales, industry wide, will be very large.

    8. My conclusion that Internet and catalog retailers who are required to disclosure

 their customers’ information to the Department will lose sales as a result is supported by

 the results of the RSG survey. The results of the survey show that two-thirds of

 Colorado Internet and catalog shoppers (67%) who aware of the disclosure requirement

 will decrease their purchases from such retailers in the coming year. Even more

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 tellingly, when asked to reflect upon a recent purchase from an out-of-state retailer that

 does not collect Colorado sales tax, sixty-three percent (63%) of Colorado consumers

 would most likely not make a similar purchase again from the affected the out-of-state

 retailer because of the disclosure requirement. In stark contrast, Colorado retailers will

 be directly benefitted by the law: forty-three percent (43%) of Colorado catalog/online

 purchasers responded to the RSG survey that they will make future purchases instead

 from a Colorado retailer that is not required to disclose their purchase information to the

 Department. Of course, out-of-state Internet and catalog sellers can never recoup the

 sales they will lose from customers who decided not to buy from them, or who choose to

 buy from another, Colorado retailer.

                    The Harm to Retailers’ Customer Relationships
                         and Businesses Will Be Permanent

    9. There are other, potentially more serious, even permanent, consequences for

 affected out-of-state retailers that elect to comply with the new law and turn-over such

 customer information to the Department. By disclosing customer purchasing

 information to the Department, even if required to do so by law, out-of-state retailers will

 definitely alienate customers in Colorado and elsewhere, including many of their best

 customers (whom the retailer will be required to inform directly of the requirement that

 the retailer must report such information to the Department).

    10. Establishing a relationship of reliability and trust with customers is the key to the

 long-term success of most retailers or brands. High levels of customer satisfaction with

 a retailer derive not just from the retailer’s products, but from the entire customer

 experience. For many of the most successful Internet and catalog retailers and brands,

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 customer satisfaction depends upon maintaining the security and privacy of a

 customer’s personal information, and not willingly disclosing it to any third-party,

 including a state government agency. This is a major reason why almost all direct

 marketers adopt clear privacy policies and disclose those policies to the public.

    11. The privacy and security of personal information in the hands of both

 businesses and government agencies remains a significant concern to many

 consumers, and the extent to which government should be permitted access to

 customer information maintained by businesses is much debated by policy makers. As

 the results of the RSG survey indicate, many consumers view information maintained by

 companies with which they do business, including generalized information such as their

 identity as a customer of the company and the frequency or volume of their

 transactions, to be private, confidential information that they would prefer not be shared

 with the government. Companies that consent to allow governmental access to such

 personal customer information, rather than resist government demands for it, are

 viewed negatively by consumers, as the revelation in 2006 that telecommunications

 providers Verizon, AT&T and Bell South may have disclosed customer phone records to

 the National Security Agency illustrates.

    12. Breaching trust with the customer and failing to live up to customer expectations

 regarding protection of sensitive transaction information will have a long-lasting

 detrimental effect on a retailer. Once the relationship of trust with a customer is

 destroyed, many such customers will be permanently lost. Retailers that comply with

 the requirements of the Colorado law by disclosing their customers’ information to the


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 Department can expect to lose customers (and thus future sales) in Colorado and

 elsewhere, as a result.

    13. My conclusions in this regard are supported by the results of the RSG survey.

 The survey shows that an overwhelming majority ― nearly 70% (including 44% who

 “strongly agree”) ― of Colorado online and catalog shoppers believe that the

 requirement of the new law that out-of-state retailers must report their customers’

 purchase information to the Department constitutes an invasion of privacy, while only

 14% of such consumers report that they do not mind the disclosure. Such strong

 consumer sentiment indicates that retailers who make such disclosures will damage

 their relationships with many Colorado customers with lasting negative effects on the

 retailers’ sales and business.




 I declare under penalty of perjury that the foregoing is a true and correct.

 Executed on this 10th day of August, 2010



                                                  /s/ Kevin Lane Keller
                                                  Kevin Lane Keller




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                                                EXHIBIT A
                                                                                           7/21/10
                                      KEVIN LANE KELLER


 Tuck School of Business                                         10 Morgan Rd.
 Dartmouth College                                               Etna, NH 03750
 Hanover, NH 03755-9011                                          (603) 643-9811 (h)
 (603) 646-0393 (o)                                              (603) 643-9815 (f)
 (603) 646-1308 (f)                                              (603) 359-4023 (c)
 kevin.keller@dartmouth.edu


 EDUCATION

 Ph.D.          Duke University
                Fuqua School of Business
                Major Field: Marketing (May 1986)

 M.B.A.         Carnegie-Mellon University
                Graduate School of Industrial Administration
                Area of Concentration: Marketing (May 1980)

 A.B.           Cornell University (with distinction in all subjects)
                College of Arts and Sciences
                Majors: Economics and Mathematics (June 1978)


 PROFESSIONAL EXPERIENCE

 Dartmouth College, Tuck School of Business
       E.B. Osborn Professor of Marketing, July 1998 to present

 Duke University, Fuqua School of Business
       Visiting Professor of Business Administration, May 1997 to June 1998
       Instructor, September 1984 to December 1984

 University of North Carolina at Chapel Hill, Kenan-Flagler Business School
        Professor of Marketing, July 1995 to May 1997

 Stanford University, Graduate School of Business
        Associate Professor of Marketing (with tenure), June 1993 to July 1995
        Associate Professor of Marketing, September 1990 to June 1993
        Assistant Professor of Marketing, July 1987 to September 1990

 University of New South Wales, Australian Graduate School of Management
        Visiting Professor, September 1990 to June 1991

 University of California, Berkeley, Schools of Business Administration
        Assistant Professor of Marketing, January 1986 to June 1987

 Bank of America, San Francisco, CA
        Marketing Consultant, April 1981 to June 1982
        Assistant Marketing Consultant, July 1980 to April 1981
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     and David Griffith, John Wiley & Sons Limited, forthcoming.

 Steve Hoeffler, Paul Bloom, and Kevin Lane Keller (2010), “Achieving Social Change through
     Corporate Societal Marketing: Incorporating a Consumer Orientation into CSR Programs,”
     Journal of Public Policy & Management, forthcoming.

 Kevin Lane Keller (2010), “Modern Branding Challenges,” Forward to Brands and Brand Management:
     Contemporary Research Perspectives, eds. Barbara Loken, Rohini Ahluwalia, and Michael J. Houston,
     forthcoming.

 Kevin Lane Keller (2010), “Brand Equity Management in a Multichannel, Multimedia Retail
     Environment,” special issue, Journal of Interactive Marketing, co-editors Venkatesh Shankar and
     Manjit Yadav, forthcoming.

 Kevin Lane Keller (2010), “Brand Development Process and Planning Brand Identity,” for Strategic
     Brand Management in Next Practices in Marketing, ed. Raj Srivastava

 Kevin Lane Keller (2010), “Brand Revitalization,” for Strategic Brand Management in Next Practices in
     Marketing, ed. Raj Srivastava
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 Kevin Lane Keller (2010), Forward to Kelly Tian and Lily Dong, Imagining China, Imagining Brands

 Kevin Lane Keller (2010), Forward to Christian Dussart, Creative Self-Destruction: An Integrated Set of
     New Business Logics to Escape Commoditization Hell

 Kevin Lane Keller (2010), “The New Branding Imperatives: Insights for the New Marketing
     Realities,” Marketing Science Institute, Fast Forward series.

 Kevin Lane Keller and Philip Kotler (2011), “Branding in Business-to-Business Firms,” in Business to
     Business Marketing Handbook, eds. Gary L. Lilien and Rajdeep Grewal, Edward Elgar Publishing,
     forthcoming.

 Kevin Lane Keller (2011), “Branding Strategy,” in Marketing Strategy Handbook, eds. Venky Shankar
     and Gregory Carpenter, Edward Elgar Publishing, forthcoming.


 WORKING PAPERS

 Kevin Lane Keller and Sanjay Sood, "The Effects of Product Experience and Branding Strategies on
     Parent Brand Evaluations and Brand Equity Dilution," under review, Journal of Marketing
     Research.

 Julie A. Edell and Kevin Lane Keller, "Analyzing Media Interactions: The Effects of Coordinated
      TV-Print Advertising Campaigns," invited revision, Journal of Marketing Research.

 Kalpesh Kaushik Desai, Kevin Lane Keller, and Wayne Hoyer, “Abstract vs. Concrete Challenge
     Strategies in the Face of Competitive Entry of Extensions from Mega Brands,” to be submitted
     to the Journal of Advertising.

 Philip Kotler and Kevin Lane Keller, “It is Time to Bury the 4Ps and Replace Them With Holistic
      Marketing,” under review, Harvard Business Review.


 MANUSCRIPTS IN PREPARATION

 Kalpesh Kaushik Desai and Kevin Lane Keller, “Understanding Channel Fit: The Reciprocal
     Effects of Product and Retailer Brand Images,” targeted for Journal of Marketing

 Scott Bedbury and Kevin Lane Keller, “King of the World: Brand Supremacy Inside and Outside
     Your Company,” targeted for Harvard Business Review

 Kevin Lane Keller and Sanjay Sood, “A Conceptual Model of Brand Extension Effects: An
     Integrative Review,” targeted for Foundations and Trends in Marketing

 Kevin Lane Keller and Keith Richey, “Strengthening a Brand Through Sponsorship,” for Journal of
     Sponsorship.


 WORK IN PROGRESS

 The Stability of Brand Preferences (with Peter Golder and Tingting Fan)
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 The Multiple Roles of Fit between Partners in Brand Alliance Attitude Formation (with Bendik
     Samuelson)

 Brand Extension Dynamics (with Donald Lehmann, Jeffrey Parker, and Martin Schleicher)

 Brand Proficiency and Propensity (with Meg Campbell)


 RESEARCH INTERESTS

 Marketing Management: Planning, Programs, and Processes

 Strategies and Tactics to Build, Measure, and Manage Brand Equity

 Design, Implementation, and Evaluation of Integrated Marketing Communication Programs


 TEACHING INTERESTS

 MBA:           Marketing Management; Brand and Product Management; Advertising and
                Communication Management

 PhD:           Behavioral Research in Marketing: Theories and Methods

 Executive:     Designing, Implementing, and Measuring Branding Programs and
                Integrated Marketing Communications Programs


 PRESENTATIONS

 "Effects of Information Quantity and Quality on Decision Effectiveness," ORSA/TIMS Marketing
     Science Conference (February 1984).

 "Memory Factors in Advertising: The Effects of Advertising Retrieval Cues on Brand Evaluations,"
    Association for Consumer Research Conference (October 1985 and October 1986), American
    Marketing Association Educators' Conference (August 1986), and American Psychological
    Association Annual Meeting (August 1986), Marketing Science Institute Advertising Steering
    Group (October 1986).

 "Memory Retrieval Factors and Advertising Effectiveness," Sandage Symposium III: Contending
    Psychological Approaches to Advertising, University of Illinois (June 1987), Advertising and
    Consumer Psychology Conference (May 1989), Marketing Research Society of Australia
    Conference (October 1990), University of Melbourne Faculty Research Seminar (October
    1990), University of Western Australia Faculty Research Seminar (April 1991).

 "Consumer Evaluations of Brand Extensions," Marketing Science Institute Brand Equity
    Conference (February 1988), ORSA/TIMS Marketing Science Conference (February 1988),
    Association for Consumer Research Conference (October 1988).

 "Memory and Evaluation Effects in Competitive Advertising Environments," University of Florida
    Faculty Research Seminar (April 1988), Pennsylvania State University Faculty Research Seminar
    (June 1988), Stanford Marketing Camp (August 1988), Association for Consumer Research
    Conference (October 1989).
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 "Cue Compatibility and Framing in Advertising," Association for Consumer Research Conference
     (October 1988), Wharton Faculty Research Seminar (March 1989), University of Michigan
     Faculty Research Seminar (November 1989), University of Arizona Faculty Research Seminar
     (March 1990).

 "The Effects of Sequential Introduction of Brand Extensions," Association for Consumer Research
     Conference (October 1989), University of Washington Faculty Research Seminar (December
     1989), Duke University Faculty Research Seminar (July 1990).

 "Conceptualizing, Measuring, and Managing Customer-Based Brand Equity," University of
    Auckland Faculty Research Seminar (April 1991), Cornell University Faculty Research Seminar
    (April 1992), New York University Faculty Research Seminar (April 1992), Columbia University
    Marketing Camp (June 1992), American Marketing Association 13th Annual Marketing
    Research Conference (September 1992), Marketing Science Institute Trustees Meeting
    (November 1992), Harvard University (February 1993).

 "The Interaction of Brand Name and Brand Positioning Strategies on Advertising Effectiveness
     Over Time," Association for Consumer Research Conference (October 1991), University of
     California, Irvine Faculty Research Seminar (December 1993), Duke University Faculty
     Research Seminar (March 1994).

 "Retrieval Difficulty and Subsequent Recall in an Advertising Setting," Association for Consumer
     Research Conference (October 1992).

 "The Effects of Corporate Images and Branding Strategies on New Product Evaluations,"
     Association for Consumer Research Conference (October 1992), Sheth Foundation Winter
     Marketing Camp, University of Pittsburgh (February 1995), Marketing Science Institute
     (January 1996).

 “Dave Aaker: A Wizard, A True Star,” Paul D. Converse Award Symposium (May 1996)

 "Building and Measuring Brand Equity," Association for National Advertisers, Corporate
     Communications Conference (October 1995), Marketing Science Institute, (September 1996)

 "Brand Knowledge and Advertising Effectiveness: Learning and Persuasion Perspectives,"
     University of Texas Faculty Research Seminar (March 1996), University of Florida Faculty
     Research Seminar (March 1996), University of California at Berkeley Faculty Research Seminar
     (September 1996).

 “Global Brand Equity,” Doctoral Internationalization Consortium, University of Texas (June 1997)

 "The Effects of Branding Strategies and Product Experience on Brand Equity," University of
     Rochester Faculty Research Seminar (June 1997), Duke University Faculty Research Seminar
     (August 1997), University of Massachusetts, University of Connecticut, and University of
     Rhode Island Marketing Colloquium (September 1997), London Business School Faculty
     Research Seminar (October 1997), UCLA Marketing Camp (March 1998), Emory University
     Faculty Research Seminar (April 1998), MSI Brand Architecture Conference (March 2005),
     University of Buffalo (March 2005), TCU (April 2008)

 “Branding the B-School,” New England Colleges of Business Administrators Conference
     (September 1997)
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 "Branding Perspectives on Social Marketing," Association for Consumer Research Conference
     (October 1997)

 “New Perspectives on Integrated Marketing Communications,” Marketing Science Institute
    Conference on Fundamental Issues and Directions in Marketing (June 1998) and Brandworks
    University Conference (July 1998).

 "Analyzing Media Interactions: The Effects of Coordinated TV-Print Advertising Campaigns,"
     University of New South Wales Faculty Research Seminar (November 1998), Northwestern
     University Faculty Research Seminar (March 1999), Ohio State University Faculty Research
     Seminar (April 1999).

 “Brand Equity Research: Progress and Priorities,” University of New South Wales Faculty Research
     Seminar (November 1998).

 “The Effects of Brand Expansions and Ingredient Branding Strategies on Parent Brand
     Extendibility,” Duke University Faculty Research Seminar (September 1999), Univeristy of
     Toronto Faculty Research Seminar (April 2000), INSEAD Faculty Research Seminar
     (September 2000), University of Minnesota Faculty Research Seminar (March 2001), Boston
     University Faculty Research Seminar (April 2001).

 “Understanding Global Branding,” Georgetown University Marketing Retreat (April 2001)

 “Building Strong Brands: Lessons from the World’s Top Marketers,” Rice University (December
     1999), Japanese Marketing Association (March 2001), Vega School of Brand Communications
     (South Africa) (May 2001), Gordon Institute of Business Science (South Africa) (December
     2002), N.C. State University College of Textiles (September 2005), Taiwan (September 2006).

 “Building Brand Equity through Societal Marketing,” MSI Conference on Marketing, Corporate,
     Social Initiatives, and the Bottom Line (March 2001)

 “The Future of Branding,” Advertising Research Foundation (April 2002)

 “Building Customer-Based Brand Equity,” MSI Conference on Brand Loyalty (April 2002)

 “Building and Managing Corporate Brand Equity,” Conference on Corporate Reputation (May
     2002)

 "Branding and Brand Health," MSI/Wharton/McKinsey CMO Summit (September 2002)

 “The Extendibility and Vulnerability of Abstract Brand Images,” Harvard Business School (April
     2003), University of Colorado at Boulder (February 2004), Northwestern Marketing Camp
     (September 2004), Babson College Research Colloquium (April 2005)

 “Consumer Responses to Social and Commercial Sponsorships,” MSI Integrating Social
    Responsibility and Marketing Strategy Conference, Boston University (September 2003)

 "Orchestrating Marketing Communications to Build Brand Equity," Marketing Science Institute
     Conference on Brand Orchestration, Orlando, FL (December 2003)

 “Making Marketing Better” University of California at Berkeley (November 2004)

 “Understanding Brand Alliances,” Brand Alliance Research Conference, Oklahoma State University
    (April 2005)
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 “Marketing Excellence: The New Marketing Imperatives,” Norway (May 2005), Brazil (June 2005),
    Singapore (July 2005), Tokyo (July 2005), Hong Kong (November 2005), Sweden (October
    2006)

 “Building Strong Brands: Three Models for Developing and Implementing Brand Plans,”
     University of Massachusetts (February 2006), University of Kansas (April 2006), University of
     Minnesota (May 2006), Brigham Young University (March 2008), University of Arizona
     (November 2008)

 “Developing and Exploiting Brand Equity,” Brand Conclave 2006, Kolkata, India (July 2006)

 “The Future of Business Education,” Duke University (December 2006)

 “Branding Excellence: The New Branding Imperatives,” Nordic Branding Academy, Stockholm,
     Sweden (October 2006), George Washington University (March 2007), University of Wisconsin
     (March 2007), World Management Congress, Brazil (June 2007), Global Marketing Network,
     London (October 2007), Brand Fair 4, Belgrade, Serbia (February 2008), Jamaica (April 2008),
     Croatia (September 2008), Iceland (April 2010)

 “Building Strong Brands Through Sponsorship,” IEG 24th Annual Sponsorship Conference (March
     2007)

 “Branding India,” Brand India Consortium, University of Connecticut (May 2007)

 “Understanding Brand Extensions,” Tuck Overseers (May 2007)

 “Achieving Brand Resonance,” MSI Creating and Cultivating Customer Connections Conference,
     University of Minnesota (June 2007)

 “Frontiers in Branding Research,” Norwegian School of Management, Brand Institute, Oslo,
     Norway (August 2007)

 “Building Strong Brands In an Experience Economy,” Nordic Experience Economy Conference,
     Kristiansand, Norway (August 2007)

 “The Seven Deadly Sins of Brand Management,” 2008 Dyess Lectureship in Marketing, Texas
     Christian University (April 2008)

 “Hitting the Branding Sweetspot: How to Best Balance Marketing Trade-offs,” Chicago AMA Brand
     Smart Conference (June 2008), Porto, Portugal (March 2009), Marketing Science Institute
     conference on New Art and Science of Branding (September 2009)

 “Marketing Excellence: How to Become a Better Marketer,” Carnegie-Mellon University (September
    2008)

 “Creating a Global Brand,” World Knowledge Forum, Seoul, Korea (October 2008)

 "Not-for-Profit and Cause Branding," George Washington University (April 2009)

 “Brand Building in Good Times and in Bad,” Tepper School of Business New York City Alumni
     Chapter (May 2009)

 “Branding Today and Tomorrow,” Universidade de São Paulo, São Paulo, Brazil (September 2009)
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 “The Power of the Retail Brand,” Brazilian Association of Supermarkets (ABRAS ) annual
     conference, São Paulo, Brazil (September 2009)

 “Brand Resonance as a Strategic Marketing Tool,” American Marketing Association “Meeting of the
     Minds” webinar series (February 2010), Consumer-Brand Relationship Colloquium, Rollins
     College (April 2010)

 “The New Branding Imperatives,” Michigan State University (April 2010), University of Alaska
     Fairbanks (April 2010),

 “Blending Branding Theory & Practice: Insights & Lessons From Applying the Brand Resonance
     Model,” Customer Insights Conference, Yale University (May 2010)


 AWARDS AND HONORS

 Dissertation Awards: American Marketing Association (Honorable Mention, August 1986),
     American Psychological Association Division 23 (First Place, August 1986), Association for
     Consumer Research (Honorable Mention, October 1986), Marketing Science Institute (First
     Place, August 1984)

 American Marketing Association Doctoral Consortium: Fellow 1984; Faculty 1988-1991, 1996,
    1998, 2002-2005, 2007-2010

 Finalist, Best Paper in Journal of Consumer Research Award for 1986-1988

 Runner-up, Marketing Science Institute Research Competition on Brand Equity (November 1989)

 James and Doris McNamara Faculty Fellow for 1989-90

 Outstanding Reviewer Award for Journal of Marketing Research for 1991-92

 Fletcher Jones Faculty Scholar for 1992-93

 1994 Harold H. Maynard award for Journal of Marketing article in 1993 making the most significant
     contribution to marketing theory and thought

 Paul J. Rizzo Faculty Fellow for 1995-97

 Finalist, 1997 William F. O’Dell Award for Journal of Marketing Research

 2003 Sheth Foundation/Journal of Marketing Award recognizing articles published in the Journal of
     Marketing that have made lasting contributions to the discipline of marketing

 2005 ZIBS Distinguished Theory Award (from Zyman Institute of Brand Science (ZIBS) at Emory
     University's Goizueta Business School)

 Two articles, "Consumer Evaluations of Brand Extensions" and "Conceptualizing, Measuring, and
    Managing Customer-Based Brand Equity" named by INFORMS Society for Marketing Science
    in March 2007 to its list of Top 20 marketing science papers written in the past 25 years that
    have most affected the practice of marketing science
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 2009 Twenty-Five Year Consortium Fellow Research Excellence Award from American Marketing
     Association Foundation, 2009

 2010 Outstanding Author Contribution Award for "Building a Strong Business-to-Business Brand"
     published in Advances in Business Marketing and Purchasing as part of the Literati Network Awards
     for Excellence 2010.


 PROFESSIONAL ACTIVITIES

 Editorial      Journal of Consumer Research (1994-2002), Journal of Marketing Research (1992-
 Boards         2002), Journal of Marketing (1993-2002, 2008-), Journal of Brand Management (1995-),
                Asian Journal of Marketing (1999-), Market Leader (2003-), Journal of Sponsorship (2007-)

 Ad Hoc         Marketing Science, Journal of Consumer Psychology, Sloan Management
 Reviewer:      Review, California Management Review, Corporate Reputation Review,
                Harvard Business Review.

 Ad Hoc         Association for Consumer Research Conference (1987-), American
 Reviewer:      Marketing Association Educators' Conference (1988-), American Marketing
                Association Doctoral Dissertation Competition (1992-), Marketing Science Institute
                Doctoral Dissertation Competition (1991-)

 Academic       Marketing Science Institute (2000-2006)
 Trusteee:

 Judge:         JCR Ferber Awards (1999)

 Co-Chair:      1994 Annual Conference of the Society for Consumer Psychology

 Member:        American Marketing Association Knowledge Coalition (2005-2007)

 Member:        American Marketing Association, Association for Consumer Research, The Institute
                for Management Science


 INDUSTRY ACTIVITIES

 Multiple engagements with the following firms:

    Accenture                             Goodyear                               Nordstrom
    Allstate                              Google                                 Ocean Spray
    American Express                      Hasbro                                 Procter & Gamble
    Blue Cross Blue Shield                Kodak                                  Red Hat
    Campbell Soup                         Intel                                  Samsung
    Coca-Cola                             Levi Strauss                           Shell Oil
    Disney                                Mayo Clinic                            Starbucks
    Eli Lilly                             Miller Brewing                         Tokyu
    ExxonMobil                            McNeil Labs                            Unilever
    Ford                                  MTV                                    Young & Rubicam
    General Mills                         Nivea

 Press interviews (sample):
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    New York Times                                         Fortune
    USA TODAY                                              Forbes
    Los Angeles Times                                      Business Week
    Boston Globe                                           Business 2.0
    Chicago Tribune                                        Advertising Age
    Wall Street Journal                                    Brandweek
    Newsweek                                               NPR
    Time


 UNIVERSITY SERVICE

 Member: Dean's Advisory Group (1987-1989)

 Member: Dean's Search Committee (1989-1990)

 Member: MBA Core Review Task Force (1989-1990)

 Doctoral Program Liaison for Marketing Area (1989-1990)

 Member: Information Resources Policy Board (1992-4)

 Area Coordinator for Marketing (1993-1994, 2009-)

 Area Chair of Marketing (1996)

 Member: MBA Expansion Committee (1996-1997)

 Member: Curriculum Committee (1998-99)

 Member: Faculty Advisory Committee – Strategy Review (1999-2000)

 Member: Admission Committee (1999-2000)

 Member: Academic Performance Committee (APC) (1999-2004)

 Member: Dean’s Marketing Advisory Group (DMAG) (2000-2003)

 Member: Strategy Review Committee (2005-2006)

 Member: Ad Hoc Task Force on Globalization, Project 2012 (2006-2008)

 Member: Executive Education Committee (2006-2009)

 Member: Dean’s Executive Committee (2008-)

 Doctoral Thesis Principal Adviser:

        Jennifer Aaker (thesis articles, “Dimensions of Brand Personality,” Journal of Marketing
                Research, 34 (August), 1997, 347-357 & “The Malleable Self: The Role of Self-
                Expression in Persuasion,” Journal of Marketing Research, 36 (February), 1999, 45-57)
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       Sheri Bridges (thesis article, "Explanatory Links and the Perceived Fit of Brand Extensions:
               The Role of Dominant Parent Brand Associations and Communication Strategies,"
               Journal of Advertising, 29 (4), 2000, 1-11)
       Christie Brown (thesis article, “Do the Right Thing: Diverging Effects of Accountability in a
               Managerial Decision Context,” Marketing Science, 18 (3), 1999, 230-246)
       Meg Campbell (thesis article, “When Attention-Getting Tactics Elicit Consumer Inferences
               of Manipulative Intent: The Importance of Balancing Benefits and Investments,”
               Journal of Consumer Psychology, 4 (3), 1995, 225-254)
       Yih Hwai Lee (thesis article, “Responses to Information Incongruency in Advertising: The
               Role of Expectancy, Relevancy, and Humor,” Journal of Consumer Research, 26 (2),
               1999, 156-169)

 Doctoral Thesis Committee Member:

       Amna Kirmani
       Chan Su Park
       Rika Spencer
